Case 1:01-cv-12257-PBS Document 6195-5 Filed 06/26/09 Page 1 of 6

TAB 4
wo oon! Oo) uw > WN

FP FP RFP FP FP BB
no wm FP WwW NY FE O&O

Case 1:01-cv-12257-PBS Document 6195-5 Filed 06/26/09

Ciarelli, Gregg (DEY) - 2002-06-26 - Tx.txt

CAUSE NO. GV002327

THE STATE OF TEXAS ) IN THE DISTRICT COURT
ex rel. )
VEN-A-CARE OF THE )
FLORIDA KEYS, INC. }
Plaintiffs, 3

vs. ) TRAVIS COUNTY, TEXAS

2
DEY, INC.; ROXANE )
LABORATORIES, INC. and )
WARRICK PHARMACEUTICALS )
CORPORATION, 3

Defendants. ) 53rd JUDICIAL DISTRICT

RARER EERE RRR EERE KEEE EE ERE RRR ENE EEA ANE

ORAL AND VIDEOTAPED DEPOSITION OF
GREGG P. CIARELLI

WEDNESDAY, JUNE 26, 2002
ve oe ue te He ae ve ve ve ve oe oe dee ae ke ae ae ee oe ee He oe oe ae koe ae te ae ae de ae ae de eK ee ee

ORAL AND VIDEOTAPED DEPOSITION OF GREGG P.
CIARELLI, produced as a witness at the instance of the
Plaintiffs and duly sworn, was taken in the
above~styled and numbered cause on the 26th day of June
2002, from 8:04 a.m. to 1:27 p.m., before Randall N.
Finch, CSR in and for the State of Texas, reported by
machine shorthand, at the offices of Boehringer
Ingelheim, Inc., 900 Ridgebury Road, Ridgefield,
Connecticut, pursuant to Notice, the Texas Rules of
civil Procedure and the provisions as previously set

orth.

APPEARANCES
FOR THE PLAINTIFF STATE OF TEXAS:
MR. JOE CRAWFORD
MR. JARRETT ANDERSON
office of the Attorney General
State of Texas
P.O. Box 12548
Austin, Texas 78711-2548 (512) 475-4300
(512) 474-1062 Fax
FOR THE RELATOR:
MR. JAMES JOSEPH BREEN
The Breen Law Firm, P.A.
8201 Peters Road, Suite 1000
Plantation, Florida 33324 (954) 916-2713
(954) 916-2714 Fax
-and-
MR. JOHN E. CLARK COf Counsel)
Goode Casseb Jones Riklin Choate &
Watson, P.C.
2122 North Main Avenue
P.O. Box 120480
San Antonio, Texas 78212-9680 (210) 733-6030
Fax (210) 733-0330
-and-
MS. JOY CLAIRMONT
Berger & Montague
1622 Locust Street
Page 1

Page 2 of 6
Case 1:01-cv-12257-PBS Document 6195-5 Filed 06/26/09

Ciarelli, Gregg (DEY) - 2002-06-26 - TX.txt
entity for any reason?
A. No.
Q. There's just the two, government reimbursement

for Medicaid --

A. That's what I'm familiar with, yes.

Q. -- and then the -- you said the -- the
rebates?

A. we pay rebates to the state, also.

Q. Do you know whether or not AWP is used in
connection with either or both of those instances?

A. would you rephrase the question?

Q. Do you know whether or not the AwP information
that's compiled under the supervision of Ms. Ferrara is
used in either or both of those situations?

A. No, I do not.. .

Q. Are you familiar with the -- the term wAC?

A. Yes.

Q. what does WAC -- what does the acronym --

A. wholesale acquisition cost.

Q. Do you know what the purpose of that number
is?

A. That's the invoice price we sell to our
customers,

Q. Do you know if that is a net cost or gross
cost?

_A. It has nothing to do with cost. It's the
price we charge to our customers.

Q. Do you know whether or not that invoice -- you
called it invoice price?

A. Yes. oo ,

Q. Do you_ know whether or not that invoice price

bears any actual relationship to what those customers
actually in the end pay for a particular product?

A. That's the number that appears on the invoice.

Q. And my question is: Do you -- do you know
whether or not that number that appears on the invoice
bears any relationship to the amount of money that
eventually and finally changes hands?

A. There are other discounts that are -- that net
the price down.

Q. Okay. And do you know if those other
discounts always appear on invoices, 100 percent of the
time?

A. Some do. Cash discounts.

Q. when you say cash discounts, what do you have
in mind?

A. There are terms based on the customer paying

the invoice at a certain period of time, and if they
pay it they receive that discount.

— Q. Is that sometimes referred to as a prompt pay
discount?
A. Yes.

Q. Is that a discount that's typically one, two

or maybe three percent if paid in 30 days? Is that
what you're talking about? .
A. Primarily two percent, to my recollection.

Q. Two percent if you pay the invoice within 30
days?

A. Yes, I believe so.

Q. What other deductions, discounts or by any

Page 29

Page 3 of 6
Case 1:01-cv-12257-PBS Document 6195-5 Filed 06/26/09

Ciarelli, Gregg (DEY) - 2002-06-26 - TX.txt

other word might be, to your knowledge, deducted from
an invoice price to a customer?

A. That is the only discount I'm aware that
appears on the invoice.

Q. All right. what about anything that does not
appear on the invoice that would ultimately result in a
lesser price being paid than what is stated on the
invoice?

A. Rebate programs.

Q. Rebate programs? And we'll talk more about
that, but let's go ahead and make a list. Any other
categories of price reductions that may not appear on
the invoice but may be applied?

A. char ebacks.

Q. Anything else?

A. Nothing else that I'm aware of.

Q. SO prompt pay discounts, rebates and
chargebacks?

A. Yes.

Q. Rebates, what's your understanding of rebates?
How -- how do they work?

A. Marketing comes up with programs to offer to
our customers to be competitive.

Q. Do you have anything to do with the -- direct
involvement with computation or the management of any
rebate program?

A, The administration of those rebate programs.

Q. The administration of them?

A. Yes.

Q. Explain your answer to me in that regard,
please.

A. People who report to me are responsible for
making sure that the -- whatever the contractual
agreement with that rebate program, the calculations
are performed and the payments are made to the -- to
the customers.

Q. And in this list of persons under you, who
would that be?

A. That would have been under John Powers'
organization.

Q. kay.

A. That would be rebate -- rebate programs for
muiltisource, rebate programs for managed health care
organizations and Medicaid rebates.

Q. And on rebates programs, are there typically
rebates involved in invoices for branded drugs?

A. Yes, managed care rebates. Not on the
invoice, though.

Q. But they don't appear on the invoice?

A. No, they do not appear on the invoice.

Q. But for managed care -- and I think I
understand, but you tell me what you mean when you say
managed care, please.

A. PBMs, HMOs.

Q. How about wholesalers or chain warehouses?

A. No.

Q. Do those people participate in rebates for
branded drugs?

A. For managed care rebates, no.

Q. Do you know why that is?
A. I don't know.
Page 30

Page 4 of 6
Case 1:01-cv-12257-PBS Document 6195-5 Filed 06/26/09

Ciarelli, Gregg (DEY) - 2002-06-26 - TX.txt
Q. With respect to ~- well, you told me your
supervision extends only to drugs that are sold by
BIPI. Is that right?

A. No.

Q. You do -- oh, that's right, Mr. Powers is
under you and he's Roxane. Correct? |

A. He was back in this time period, yes.

Q. Okay. Okay. Well, let's now talk about
chargebacks. Explain to me what a chargeback jis.

A. A chargeback is the final price that we give
to a -- an indirect customer that the wholesaler would
deliver and invoice the customer for.

Q. when you say indirect customer, tell me what

you mean by that. .
A. we don't receive payment directly from that
customer,

Q.. The indirect customer would be the one that
actually eventually receives the -- the product, such
as a pharmacist?

A. No, more -- more likely a hospital.

Q Is it possible that a pharmacist or a pharmacy
ora group of pharmacies could be an indirect customer
for chargeback purposes?

A. Not that I am aware of.

Q. You say typically would be what, a --

A. Hospital.

Q. And that would be back up here under your
contract proposals --

A. Through the bid award process, yes.

Q. The bid -- the bid award?

A. The bid process, yes.

Q. A hospital would -- you have dealings and

negotiations with a hospital for a bid and you would
come to an agreement, your organization would sign the
agreement and the hospital would sign the agreement,
and under that agreement they would be entitled to
receive your products at a certain agreed price.
correct?

A. Yes.
Q. But those products would not come directly
from BIPI or Roxane. They would instead go through a

wholesaler or some other --

A. Primarily, yes.

Q. Okay. cChargebacks, are there chargebacks in
the arena of branded drugs?

A. Yes.

Q. Is that pretty universal for branded drugs,
that there be chargebacks?

A. Yes, I believe so.

Q. So that's -- that's not the exception. It's
pretty much the rule.

A. Yes.

Q. And these -- the rule involving chargebacks
for branded drugs, would that be limited exclusively to
hospitals, or to other end users as well?

A. It's primarily hospitals, I believe.

Q. would this include HMOs, also? would they be

on the -- on the list for receiving chargebacks for
branded drugs?
A. Only -- only a staff model HMO would receive
Page 31

Page 5 of 6
Case 1:01-cv-12257-PBS Document 6195-5 Filed 06/26/09

Ciarelli, Gregg (DEY) - 2002-06-26 - TX.txt
that, a -- a person who physically takes possession of
the -- the -- the pharmaceutical product.

Q. You used a word or a term I'm not familiar
with. Staff model, did you say?

A. Yes.

Q. And I don't know what staff model means. what
does that mean?

A. That's a -- that would mean that the HMO
actually has an in-house pharmacy and they distribute
the products to their members only.

MR. MCCONNICO: Joe, I need to make a
quick call around 10:00. Just take your time, you
know, whenever's a good stopping spot. Somewhere in
there I need to make a quick call.

MR. CRAWFORD: Okay. Well, Steve, we've
been going an hour and really this is probably about as
good a time to break as any, if it's all right with
you.

MR. MCCONNICO: Yeah, that's fine. I
mean, just make it good for you.

VIDEOGRAPHER: We're off the record at
9:56 a.m.

(Brief recess from 9:56 to 10:16 a.m.)
VIDEOGRAPHER: Back on the record at
10:16 a.m. (Begins Confidential portion of transcript)

Q. (By Mr. Crawford) Mr. Ciarelli, before we
started back your lawyer was kind enough to bring
something to my attention, and it has to do with an
earlier person we discussed by the name of -- and I'm
still not good at French pronunciations -- St. Jacques?

A. Yes.

Q. And that was a person that after 15 years left
the employment of BIPI, my understanding is under terms
other than voluntary, and you had expressed some
reluctance to tell me why. And so I would like to
renew my question to you to the state of your know ledge
if -- if -- whatever you know, I would like to know why
this gentleman separated from BIPI.

A. His management style and the direction that we
were taking the -- his function were going in a
different direction, and we decided for the -- you
know, for the sake of this individual and the company
it would be best for him to part company.

Q. Based upon -- based upon that answer, then,
may -- may I be correct in assuming that it was not for
any reason having to do with misfeasance or any type of
criminal activity or anything like that?

A. No. No.

Q. To your knowledge, was this gentleman under
threat of any indictment or criminal charges by any
state or federal law enforcement agency for anything
having to do with what his job duties were?

A. Not that I am aware of, no.

Q. To your knowledge, was he ever, before he left
the employment of BIPI, called in to talk to the office
of Inspector General of the FBI or any state or federal
prosecutor for anything having to do with his
employment?

A. Not that I am aware of, no.

Q. All right. Thank you.

MR. MCCONNICO: Could we have an
Page 32

Page 6 of 6
